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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                                           Chapter 11


NEW CENTURY TRS HOLDINGS, INC et aI.                             Case No. 07- 10416 (K.JC)


                                   Debtor.                       Jointly Administered

                                                                 RE: Docket No.

      ORDER APPROVING STIPULATION EXTENDING THE DEADLINE FOR
   PRODUCTION OF ALTERNATIVE ACCOUNTING PURSUANT TO THE ORDER
    GRANTING ADEQUATE PROTECTION PURSUANT TO BANKRUPTCY CODE
    SECTIONS lO5(a), 361 362 AND 36.3(b)(1) AND
               PROCEDURES FOR RESOLVING CERTAIN CLAIMS


         Upon the Stipulation Extending the Deadline for Production of Alternative Accounting

Pursuant to the Order Granting

105(a), 361 , 362 and 363(b)(1) and Establishing Preliminary
                              ), I a copy of which is attached hereto;
Claims (the " Stipulation

the Stipulation; and good and sufficient cause appearing therefor; it is hereby

         ORDERED that the Stipulation is approved; and it is further

         ORDERED that the Response Deadline is hereby extended through and including July

   , 2007 at 5:00 p. m. (est) and

Altemative Accounting on or before July 27 2007; and it is further

         ORDERED that this Court shan retain jurisdiction over the Parties with respect to any

matters related to , or arising from , the implementation of this Order.




1 All capitalized terms not otherwise defined herein
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Dated:          2007
                                 Honorable Kevin J. Carey
                                 United States Bankruptcy Judge
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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


In re:                                                                   Chapter 11


NEW CENTURY TRS HOLDINGS , INC.                        f!L.,             Case No. 07- 10416 (JOC)


                                   Debtor.                               Jointly Administered



               STIPULATION EXTENDING THE DEADLINE FOR
   PRODUCTION OF ALTERNATIVE ACCOUNTING PURSUANT TO THE ORDER
    GRANTING ADEQUATE PROTECTION PURSUANT TO BANKRUPTCY CODE
    SECTIONS 105(a), 361 , 362 AND .363(b)(1) AND
              PROCEDURES FOR RESOLVING CERTAIN CLAIMS
         This                   Stipulation ) is entered into by
                                                                                                    , I (" lPMC " and
Holdings , Inc.           (the " Debtors ) and JPMorgan Chase Mortgage Corp.

together with the Debtors , the " Parties ) through their duly authorized counsel.

                                                  RECIT ALS

         WHEREAS , on June 28 , 2007 , this Court

Protection Pursuant to                                                                    , 362 and

Establishing Preliminary Procedures for Resolving Certain Claims (the                           Adequate Protection

Order


         WHEREAS ) pursuant to paragraph 5 of the Adequate Protection Order ) JPMC required to

(1) concur with the information contained in the Individual Report or (2) provide the Debtors

with the Alternative Accounting on or before July 20 , 2007 (the " Response Deadline




         I All terms not defined herein shall have the same meaning as ascribed in the Order Granting
Protection Pursuant to Bankruptcy Code                            , 362 and   363(b)(1)     and Establishing Preliminary
Procedures for Resolving Certain Claims , dated June 28 , 2007,
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        WHEREAS, the Parties have

including July 27 2007 at 5:00 p. m. (est).


        WHEREAS , the Parties

Creditors does not oppose the extension of Response Deadline.


        NOW , THEREFORE , IT IS                                 , CONSENTED AND

that:


        The Response Deadline is hereby extended through and including July 27, 2007 at 5:00

  m. (est) and JPMC wil1 use its reasonable best efforts to produce the Altemative Accounting on

or before July 27 , 2007.
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